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                         Exhibit 3



            Unimpaired Non-Voting Status Notice
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    STANADYNE LLC, et al.,1                                 Case No. 23-10207 (TMH)
                                                            (Jointly Administered)
                       Debtors.


               NOTICE OF NON-VOTING STATUS TO HOLDER OF UNIMPAIRED
                CLAIMS CONCLUSIVELY PRESUMED TO ACCEPT THE PLAN

        PLEASE TAKE NOTICE THAT on _________ _, 2023, the United States Bankruptcy
Court for the District of Delaware (the “Court”)2 entered an Order granting the Motion of the
Official Committee of Unsecured Creditors (the “Committee”) (i) Approving on an Interim Basis
the Adequacy of Disclosures in the Combined Disclosure Statement and Plan of Liquidation (as
may be modified, amended, or supplemented from time to time, the “Plan”), (ii) Scheduling the
Confirmation Hearing and Deadline for Filing Objections, (iii) Establishing Procedures for
Solicitation and Tabulation of Votes to Accept or Reject the Combined Disclosure Statement and
Plan of Liquidation, and Approving the Form of Ballot and Solicitation Package, and (iv)
Approving the Notice Provisions (the “Solicitation Procedures Order”).

        PLEASE TAKE FURTHER NOTICE THAT, because of the nature and treatment of your
Claim under the Plan, you are not entitled to vote on the Plan. Specifically, under the terms of the
Plan, as a Holder of a Claim (as currently asserted against one or more of the Debtors) that is not
Impaired and conclusively presumed to have accepted the Plan pursuant to section 1126(g) of the
Bankruptcy Code, you are not entitled to vote on the Plan.

        PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the Plan
is on or before October 30, 2023 at 4:00 p.m. (prevailing Eastern Time) (the “Plan Objection
Deadline”). Any objection to the Plan must: (a) be in writing; (b) conform to the Bankruptcy Rules,
the Local Rules, and any orders of the Court; (c) state with particularity the basis and nature of any
objection to the Plan and, if practicable, a proposed modification to the Plan that would resolve
such objection; and (d) be filed with the Court (contemporaneously with a proof of service) and
served upon the following parties so as to be actually received prior to the Plan Objection Deadline:
(i) Kathryn A. Coleman, Esquire and Christopher Gartman, Esquire (email:
Katie.coleman@hugheshubbard.com and Chris.gartman@hugheshubbard.com) and (ii) Michael
Nestor, Esquire, Andrew Magaziner, Esquire, and Ashley Jacobs, Esquire (email:
mnestor@ycst.com, amagaziner@ycst.com, and Ajacobs@ycst.com), (b) counsel to the

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 .        The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings,
Inc. (2594); and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White
Street, Jacksonville, North Carolina 28546.
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             Capitalized terms used but not otherwise defined herein shall have meanings ascribed to them in the Plan.



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Committee: (i) Adam C. Rogoff, Esquire and Rose Bagley, Esquire (email:
arogoff@kramerlevin.com and rbagley@kramerlevin.com) and (ii) Jeffrey R. Waxman, Esquire
and Eric J. Monzo, Esquire (email: jwaxman@morrisjames.com and emonzo@morrisjames.com),
(c) counsel to Cerberus: Michael L. Tuchin and David A. Fidler (email: mtuchin@ktbslaw.com
and dfidler@ktbslaw.com), and (d) Office of the United States Trustee, Jane Leamy, Esquire
(email: jane.m.leamy@usdoj.gov).

PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will consider final
approval of the disclosures in the Plan and confirmation of the Plan (the “Combined Hearing”)
will commence on November 13, 2023 at 11:00 a.m. (prevailing Eastern Time), before the
Honorable Thomas M. Horan in the United States Bankruptcy Court for the District of Delaware.

PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the Plan or any
related documents, you may obtain copies of any pleadings filed in this chapter 11 case for a fee
via PACER at: http://www.deb.uscourts.gov or contact counsel for the Committee, Jeffrey R.
Waxman (jwaxman@morrisjames.com).

CRITICAL INFORMATION REGARDING RELEASE, EXCULPATION, AND INJUNCTION
PROVISIONS IS IN ARTICLE IX OF THE PLAN. THUS, YOU ARE ADVISED TO REVIEW
AND CONSIDER THE PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE
AFFECTED THEREUNDER.




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THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY. IF
YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN OR
ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO OBTAIN
ADDITIONAL INFORMATION, CONTACT THE VOTING AGENT.

Dated:
                                            MORRIS JAMES LLP

                                            /s/ Jeffrey R. Waxman
                                            Jeffrey R. Waxman (DE Bar No. 4159)
                                            Eric J. Monzo (DE Bar No. 5214)
                                            500 Delaware Avenue, Suite 1500
                                            Wilmington, DE 19801
                                            Email: jwaxman@morrisjames.com
                                            Email: emonzo@morrisjames.com

                                            -and-

                                            Adam C. Rogoff, Esquire
                                            Rose Hill Bagley, Esquire
                                            KRAMER LEVIN NAFTALIS & FRANKEL
                                            LLP
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                                            New York, NY 10036
                                            Email: arogoff@kramerlevin.com
                                            Email: rbagley@kramerlevin.com

                                            Counsel to the Official    Committee   of
                                            Unsecured Creditors




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